               Case 7:13-po-02104 Document 1 Filed on 03/01/13 in TXSD Page 1 of 1
AO91 (Rev. 12/03) Criminal Complaint                                                AUSA

                             UNITED STATES DISTRICT COURT

                                          Southern District Of Texas McAllen Division

UNITED STATES OF AMERICA                                              CRIMINAL COMPLAINT
            vs.
                                                                      Case Number: 7:13-po-02104
Mirna Elizabeth GOMEZ DE SALMERON
IAE A205 876 132
El Salvador 1972


         I, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about February 28, 2013 in                          Hidalgo                County, in
the                            Southern District Of Texas                           defendant(s) did,
Being then and there an alien, did, knowingly and unlawfully enter the United States at a place other
than as designated by immigration officers;




in violation of Title            8          United States Code, Section(s)               1325(a)(1)
I further state that I am a(n)              Border Patrol Agent           and that this complaint is based on the
following facts:
Mirna Elizabeth GOMEZ DE SALMERON was encountered by Border Patrol Agents near Hidalgo,
Texas on February 28, 2013. When questioned as to her citizenship, defendant stated that she was a
citizen and national of El Salvador, who had entered the United States illegally on February 28, 2013,
by rafting across the Rio Grande River near the Hidalgo, Texas Port of Entry.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS
COMPLAINT ARE TRUE AND CORRECT.


Continued on the attached sheet and made a part of this complaint:               Yes            No

                                                                       /S/ Gonzalez., Rogelio Border Patrol Agent
                                                                       Signature of Complainant
                                                                       Gonzalez., Rogelio Border Patrol Agent
                                                                       Printed Name of Complainant
Sworn to before me and signed in my presence,
March 01, 2013                                                   at    McAllen, Texas
Date                                                                   City/State

Peter E Ormsby                       U.S. Magistrate Judge
       Name of Judge                     Title of Judge                                 Signature of Judge
